      Case 17-54115-sms          Doc 39 Filed 02/03/21 Entered 02/03/21 14:43:41                       Desc Order
                                     to close Ch 7 - Asset Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    All Star Health Care, Inc. a Georgia                  Case No.: 17−54115−sms
       Corporation                                           Chapter: 7
       950 Cobb Parkway South, Suite 301                     Judge: Sage M. Sigler
       Marietta, GA 30060

       27−0996994




                         ORDER APPROVING ACCOUNT, DISCHARGING TRUSTEE
                                      AND CLOSING ESTATE



It appearing to the Court that

                                                    S. Gregory Hays



the Trustee in this case, has reduced the property and effects of the estate of the Debtor(s) to cash; that the Trustee has
made distribution thereof as required by the order of this Court and has rendered a full and complete account thereof,
and that the Trustee has performed all other and further duties required in the administration of the estate.

IT IS ORDERED that the accounts of the Trustee are approved and allowed, and that the estate is closed; that the
Trustee is discharged and relieved of the trust.




                                                             Sage M. Sigler
                                                             United States Bankruptcy Judge


Dated: February 3, 2021
Form 183
